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                                                                                    7

                                                                                    8
                                                                                                            UNITED STATES DISTRICT COURT
                                                                                    9
                                                                                                           CENTRAL DISTRICT OF CALIFORNIA
                                                                                   10
                                 TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                                   11                                                  CASE NO. CV 18-3204
Spertus, Landes & Umhofer, LLP




                                                                                        BRITTANY ALEXANDRIA SHEETS,
                                        1990 SOUTH BUNDY DR., SUITE 705




                                                                                   12   an individual, aka Mars Argo;
                                            LOS ANGELES. CA, 90025




                                                                                                                                    COMPLAINT FOR:
                                                                                   13                             Plaintiff,
                                                                                   14                                               1. COPYRIGHT INFRINGEMENT
                                                                                                                                    2. COMMON LAW RIGHT OF
                                                                                   15                vs.                               PUBLICITY
                                                                                   16                                               3. VIOLATION OF
                                                                                        COREY MICHAEL MIXTER, an                       CALIFORNIA’S UNFAIR
                                                                                   17   individual, aka Titanic Sinclair;              BUSINESS LAWS (Cal. Bus. &
                                                                                   18   TITANIC SINCLAIR                               Prof. Code §§17200, et seq.)
                                                                                        PRODUCTIONS, INC., a California             4. DOMESTIC VIOLENCE
                                                                                   19
                                                                                        corporation; MORIAH ROSE                       DAMAGES (Cal. Code Proc.
                                                                                   20   PEREIRA, an individual, aka Poppy,             §340.15)
                                                                                        aka ThatPoppy, aka I am Poppy; and I
                                                                                   21                                               DEMAND FOR JURY TRIAL
                                                                                        AM POPPY, INC., a California
                                                                                   22   corporation
                                                                                   23

                                                                                   24                       Defendants.

                                                                                   25

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                                                                                                                          COMPLAINT
                                                                                  Case 2:18-cv-03204-R-AGR Document 1 Filed 04/17/18 Page 2 of 39 Page ID #:2



                                                                                    1                                       COMPLAINT
                                                                                    2          Plaintiff Brittany Alexandria Sheets alleges as follows:
                                                                                    3   I.    INTRODUCTION
                                                                                    4          1.    Plaintiff Brittany Alexandria Sheets is an actress and recording artist
                                                                                    5    known by the alter ego and stage name “Mars Argo.”
                                                                                    6          2.    Ms. Sheets is originally from Saginaw, Michigan, and, in 2008, met
                                                                                    7    a local man named Corey Mixter. The two began a romantic relationship, and
                                                                                    8    also began pursuing creative endeavors together. They subsequently moved
                                                                                    9    together to Chicago and then to Los Angeles.
                                                                                   10          3.     In addition to being the alter ego of Plaintiff Brittany Sheets, Mars
                                 TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                                   11    Argo also is the name of a musical project between Ms. Sheets and Mr. Mixter,
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                                                                                   12    who is known by his alter ego of Titanic Sinclair (“Mr. Mixter” or “Titanic
                                            LOS ANGELES. CA, 90025




                                                                                   13    Sinclair”). In 2009, Ms. Sheets and Mr. Mixter began making music in their
                                                                                   14    bedroom and releasing videos of their performances on their YouTube channel
                                                                                   15    called Grocerybag.tv. All of the content on the channel was self-produced and
                                                                                   16    consisted of short films, music videos, and a show called “Computer Show.”
                                                                                   17    The channel was active from 2009 through 2015, and roughly 92 videos were
                                                                                   18    released during that time.
                                                                                   19          4.    In addition to producing and publishing content through their
                                                                                   20    YouTube channel, in early 2012, Mars Argo began performing live stage shows
                                                                                   21    and performing for audiences at venues across the country.
                                                                                   22          5.    Although Mars Argo was growing in popularity during this time,
                                                                                   23    Ms. Sheets was living a nightmare and, behind closed doors, she was enduring
                                                                                   24    severe emotional and psychological abuse and manipulation from Mr. Mixter.
                                                                                   25          6.    In January 2014, after confronting Mr. Mixter about his recurrent
                                                                                   26    infidelity, Ms. Sheets ended her relationship with Mr. Mixter, and asked that
                                                                                   27    their association become strictly professional. However, Mr. Mixter did not
                                                                                   28    honor Ms. Sheets’ requests. Following the end of their romantic relationship,
                                                                                                                                 2
                                                                                                                          COMPLAINT
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                                                                                    1   Mr. Mixter began to repeatedly harass, stalk, threaten, and abuse Ms. Sheets,
                                                                                    2   including – but not limited to – threatening to commit suicide, repeatedly
                                                                                    3   showing up unannounced at Ms. Sheets’ doorstep, breaking into her apartment,
                                                                                    4   stalking her every move on social media, disparaging her to mutual friends,
                                                                                    5   acquaintances, or others in the industry, and even physically assaulting her.
                                                                                    6         7.      Despite Mr. Mixter’s abusive behavior, Ms. Sheets was hesitant to
                                                                                    7   end their professional association because she had worked so hard to build Mars
                                                                                    8   Argo, and the project was gaining notoriety.
                                                                                    9         8.      In mid-2014, however, the abuse and manipulation from Mr. Mixter
                                                                                   10   became too much, and Ms. Sheets stopped making new content with him. Upon
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                                                                                   11   losing Ms. Sheets, Mr. Mixter’s intimidation only intensified.
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                                                                                   12         9.      Finally, in late 2015, Ms. Sheets decided she had no option but to
                                            LOS ANGELES. CA, 90025




                                                                                   13   leave Los Angeles, to try to protect herself from Mr. Mixter’s threats and
                                                                                   14   harassment.
                                                                                   15         10. Around the same time that Mr. Mixter had been actively harassing
                                                                                   16   Ms. Sheets, in November 2014, Mr. Mixter calculatedly transformed another
                                                                                   17   woman, Moriah Rose Pereira – known by the stage name “ThatPoppy” or
                                                                                   18   “Poppy” or “I’m Poppy” (collectively “Poppy”) – into a Mars Argo knockoff.
                                                                                   19         11. Although Poppy was a natural brunette, after meeting Mr. Mixter,
                                                                                   20   Ms. Pereira dyed her hair a specific platinum blonde and, in character as Poppy,
                                                                                   21   started to alter her voice to be a pitch higher to mimic Mars Argo’s distinctive
                                                                                   22   speaking voice.
                                                                                   23         12. Mr. Mixter and Ms. Pereira began to produce short segments on a
                                                                                   24   YouTube channel that were set against substantially similar backdrops and in a
                                                                                   25   deliberately similar format to the Mars Argo project.
                                                                                   26         13. From November 2014 to the present, through the Poppy project, Mr.
                                                                                   27   Mixter and Ms. Pereira as Poppy, deliberately copied Mars Argo’s identity,
                                                                                   28   likeness, expression of ideas, sound, style, and aesthetic in YouTube segments,
                                                                                                                                 3
                                                                                                                          COMPLAINT
                                                                                  Case 2:18-cv-03204-R-AGR Document 1 Filed 04/17/18 Page 4 of 39 Page ID #:4



                                                                                    1   music videos, live performances, internet videos, and other performances or
                                                                                    2   shows. These actions constitute copyright infringement, a violation of Ms.
                                                                                    3   Sheets’ right to publicity, and violation of the California Business and
                                                                                    4   Professions Code sections 17200 et sequence.
                                                                                    5         14. Moreover, by combining that infringement with a sinister campaign
                                                                                    6   of harassment, Mr. Mixter attempted to drive Ms. Sheets out of the
                                                                                    7   entertainment business – not only stealing her intellectual property but
                                                                                    8   appropriating her entire persona.
                                                                                    9         15. Like many women, Ms. Sheets has previously been afraid to come
                                                                                   10   forward with her story. She feared retribution and retaliation from Mr. Mixter,
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                                                                                   11   including further public disparagement and renewed intimidation of professional
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                                                                                   12   and personal acquaintances.
                                            LOS ANGELES. CA, 90025




                                                                                   13         16. Ms. Sheets also continues to fear for her own personal safety, given
                                                                                   14   Mr. Mixter’s violent, menacing, and unstable conduct following their break-up.
                                                                                   15         17. Ms. Sheets realizes, however, that the only way to gain freedom
                                                                                   16   from Mr. Mixter and to move forward both professionally and personally is to
                                                                                   17   hold him and his enablers accountable and seek protection from the Court.
                                                                                   18         18. This complaint seeks damages from Mr. Mixter both for his
                                                                                   19   personal abuse of Ms. Sheets, and from Mr. Mixter and from his company in
                                                                                   20   copying Mars Argo’s identity, likeness, and expression of ideas as part of his
                                                                                   21   work with the artist Poppy, and for the blatant and willful infringement of Mars
                                                                                   22   Argo’s copyright.
                                                                                   23         19. In addition, given Mr. Mixter’s past history of abuse, Ms. Sheets is
                                                                                   24   simultaneously seeking a domestic violence restraining order against Mr. Mixter
                                                                                   25   in state court during the pendency of this litigation so Ms. Sheets is protected
                                                                                   26   from further retaliation and abuse as a result of this lawsuit.
                                                                                   27         20. Additionally, Ms. Sheets seeks damages from Ms. Pereira for being
                                                                                   28   a knowing accomplice to Mr. Mixter’s unlawful actions in deliberately copying,
                                                                                                                                 4
                                                                                                                            COMPLAINT
                                                                                  Case 2:18-cv-03204-R-AGR Document 1 Filed 04/17/18 Page 5 of 39 Page ID #:5



                                                                                    1   stealing, and appropriating Ms. Sheets’ identity, style, aesthetic, likeness,
                                                                                    2   expression of ideas, content, and work as Mars Argo in her own work as Poppy.
                                                                                    3   II.    JURISDICTION AND VENUE
                                                                                    4          21.    This is an action for copyright infringement arising under the
                                                                                    5   Copyright Act of 1976, as amended, 17 U.S.C. § 101 et seq. The Court has
                                                                                    6   subject matter jurisdiction under 17 U.S.C. § 501 and 28 U.S.C. §§ 1331 and
                                                                                    7   1338(a). This Court also has supplemental jurisdiction over Plaintiff’s claims
                                                                                    8   arising under state law under 28 U.S.C. § 1367, as those claims form part of the
                                                                                    9   same case or controversy.
                                                                                   10          22. Venue is proper in this District under 28 U.S.C. §§ 1391(b) and
                                 TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                                   11   1400(a) because Defendants Mixter and Pereira reside in this District, may be
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                                                                                   12   found in this District, and are subject to personal jurisdiction in this District.
                                            LOS ANGELES. CA, 90025




                                                                                   13   Mr. Mixter and Ms. Pereira also have substantial and continuous ties to this
                                                                                   14   District.
                                                                                   15          23. This Court has personal jurisdiction over Defendant Mixter because,
                                                                                   16   among other things, (i) Corey Michael Mixter, aka Titanic Sinclair, transacts
                                                                                   17   business and works in this District, (ii) engaged in wrongdoing in this District;
                                                                                   18   and (iii) resides in this District.
                                                                                   19          24. This Court has personal jurisdiction over Defendant Pereira
                                                                                   20   because, among other things, (i) Moriah Rose Pereira, aka Poppy, transacts
                                                                                   21   business and works in this District, (ii) engaged in wrongdoing in this District;
                                                                                   22   and (iii) resides in this District.
                                                                                   23   III.   PARTIES
                                                                                   24          25.    The Plaintiff in this action is Brittany Alexandria Sheets an
                                                                                   25   individual, who is now and at various relevant times was a resident of Los
                                                                                   26   Angeles, California.
                                                                                   27          26.    Plaintiff is informed and believes that Mr. Mixter is, and was at all
                                                                                   28   relevant times, an individual and resident of the County of Los Angeles, State of
                                                                                                                                  5
                                                                                                                              COMPLAINT
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                                                                                    1   California. Defendant Corey Mixter goes by the professional name of Titanic
                                                                                    2   Sinclair, and describes himself on his website titanicsinclairbandcamp.com as “a
                                                                                    3   LA-based audio and visual artist” and on his website titanicsinclair.com as “a
                                                                                    4   director/writer living in LA.”
                                                                                    5         27.    Defendant Titanic Sinclair Productions, Inc. is a California
                                                                                    6   corporation that filed articles of incorporation on or around April 10, 2017. A
                                                                                    7   December 5, 2017, State of California Statement of Information lists Defendant
                                                                                    8   Mixter as the Chief Executive Officer, Secretary, Chief Financial Officer, and
                                                                                    9   Director of the corporation. The corporation business type is “entertainment
                                                                                   10   services.”
                                 TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                                   11         28.    Defendant Moriah Rose Pereira goes by the professional name
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                                                                                   12   “Poppy” aka “ThatPoppy” aka “I’m Poppy.” Plaintiff is informed and believes
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                                                                                   13   that Ms. Pereira is, and was at all relevant times, an individual and resident of
                                                                                   14   the County of Los Angeles, State of California.
                                                                                   15         29.    Defendant I am Poppy, Inc. is a California corporation that filed
                                                                                   16   articles of incorporation on or around July 11, 2017. An August 21, 2017, State
                                                                                   17   of California Statement of Information lists Defendant Pereira as the Chief
                                                                                   18   Executive Officer, Secretary, Chief Financial Officer, and Director of the
                                                                                   19   corporation. The corporation business type is “entertainment services.”
                                                                                   20   IV.   BACKGROUND
                                                                                   21         A.     Ms. Sheets and Mr. Mixter Began Mars Argo In 2009 And
                                                                                   22                Created Original Content for Mars Argo Until 2014
                                                                                   23         30.    Mars Argo is the alter ego of singer, actress, YouTube artist and
                                                                                   24   personality Brittany Sheets. It is also the name of the musical project between
                                                                                   25   Ms. Sheets and Corey Mixter, who is known by his alter ego, Titanic Sinclair
                                                                                   26   (“Titanic Sinclair” or “Mr. Mixter”). Ms. Sheets and Mr. Mixter began dating
                                                                                   27   in 2008. In 2009, Ms. Sheets and Mr. Mixter began making music in their
                                                                                   28   bedroom and released content on their YouTube channel called Grocerybag.tv.
                                                                                                                                 6
                                                                                                                          COMPLAINT
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                                                                                    1   All of the content on the channel was self-produced and consisted of short films,
                                                                                    2   music videos, and a show called “Computer Show.” The channel was active
                                                                                    3   from 2009 through 2015. Roughly 92 videos were released while still active.
                                                                                    4   The videos were an artistic social commentary on the internet, celebrity, and pop
                                                                                    5   culture, with a focus on the future and technology.
                                                                                    6         31.    Throughout this time, Ms. Sheets created, developed, participated
                                                                                    7   in, and contributed to Mars Argo content, scripts, directing, lighting, framing,
                                                                                    8   filming, editing, motion graphics, color correction, hair/make-up, wardrobe,
                                                                                    9   styling, sound design, lyrical composition, and imaging and branding for Mars
                                                                                   10   Argo videos, songs, recordings and performances. Ms. Sheets’ photography
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                                                                                   11   was largely responsible for the “look” of Mars Argo, and Mr. Mixter continues
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                                                                                   12   to appropriate that work to this day.
                                            LOS ANGELES. CA, 90025




                                                                                   13         32.    In addition to her creative contributions, throughout their personal
                                                                                   14   and professional relationship, Mr. Mixter was essentially insolvent, relying on
                                                                                   15   constant financial support from Ms. Sheets and her family.
                                                                                   16         33.    In late 2012/early 2013, Ms. Sheets and Mr. Mixter moved to Los
                                                                                   17   Angeles, and auditioned new members for their band to perform live shows in
                                                                                   18   addition to producing internet content. When they moved to Los Angeles,
                                                                                   19   Sheets and Mixter shared an apartment.
                                                                                   20         34.    Around this time, in early 2013, Ms. Sheets and Mr. Mixter
                                                                                   21   received a loan from Ms. Sheets’ father, Don Sheets, to fund the Mars Argo
                                                                                   22   project. As part of the loan, Ms. Sheets, Don Sheets, and Mr. Mixter formed the
                                                                                   23   Mars Argo, LLC, a limited liability company in the state of Michigan, in which
                                                                                   24   Don Sheets became an 83.3% owner of Mars Argo, LLC, with Brittany Sheets
                                                                                   25   and Corey Mixter each respectively owning 8.3% of Mars Argo, LLC
                                                                                   26   (incorporated in April 2013). Mars Argo LLC also was incorporated in Los
                                                                                   27   Angeles in March 2013. The purpose of the Mars Argo, LLC was to develop
                                                                                   28
                                                                                                                                7
                                                                                                                         COMPLAINT
                                                                                  Case 2:18-cv-03204-R-AGR Document 1 Filed 04/17/18 Page 8 of 39 Page ID #:8



                                                                                    1   the Mars Argo brand to generate revenue from a variety of sources, including
                                                                                    2   royalties, retail sales, licensing revenue and appearance fees.
                                                                                    3         35.      Although the band Mars Argo grew in popularity during this time,
                                                                                    4   Ms. Sheets was enduring severe emotional and psychological abuse and
                                                                                    5   manipulation from Mr. Mixter. He constantly insulted her intellect and
                                                                                    6   denigrated and degraded her in public and in private.
                                                                                    7         36.      He repeatedly told her that she was getting old and that she needed
                                                                                    8   him to be successful in her career. He created a sense that she was running out
                                                                                    9   of time and that her only solution was to finance the project and create content
                                                                                   10   for it. Unsurprisingly, a review of Mars Argo songs from the time shows that
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                                                                                   11   many lyrics were related to the controlling nature of the relationship with Mr.
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                                                                                   12   Mixter.
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                                                                                   13         37.      Ms. Sheets believes that Mr. Mixter deliberately sought to shatter
                                                                                   14   her self-confidence so that she would not pursue any individual creative
                                                                                   15   opportunities and would instead continue to support him both creatively and
                                                                                   16   financially.
                                                                                   17         38.      If Ms. Sheets had an opportunity to collaborate on an outside
                                                                                   18   project, Mr. Mixter would belittle the opportunity and speak poorly of the
                                                                                   19   person or project, so that Ms. Sheets would, in turn, feel doubt or distrust. Mr.
                                                                                   20   Mixter would then advise her on how to respond to the opportunity or even take
                                                                                   21   it upon himself to draft a response for her to turn down the project.
                                                                                   22         39.      Finally, in January 2014, after confronting Mr. Mixter about his
                                                                                   23   recurrent infidelity, Ms. Sheets ended the romantic relationship with Mr. Mixter,
                                                                                   24   and shortly thereafter asked him to move out of the apartment they shared.
                                                                                   25   However, they continued to work together professionally due to Mars Argo’s
                                                                                   26   rising popularity and upcoming live shows the band had scheduled. They also
                                                                                   27   had recently shot the music video for the single “Using You” with a Grammy
                                                                                   28   Award nominee for producer of the year and were in the process of editing the
                                                                                                                                 8
                                                                                                                           COMPLAINT
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                                                                                    1   video.
                                                                                    2            40.   Shortly thereafter, in February 2014, Mars Argo released “Delete
                                                                                    3   Your Facebook” on Grocerybag.tv.
                                                                                    4            41.   During this time, the band Mars Argo continued to gain a cult
                                                                                    5   following, and in March 2014, Mars Argo performed three successful showcases
                                                                                    6   at the South by Southwest festival in Austin, Texas. Thereafter, Mars Argo
                                                                                    7   continued to perform shows, including at the Nerdmelt Theater in Los Angeles,
                                                                                    8   California.
                                                                                    9            42.   Because of Mars Argo’s rising success, Ms. Sheets attempted to
                                                                                   10   maintain a working relationship with Mr. Mixter, but found it increasingly
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                                                                                   11   difficult due to his emotionally-abusive, demeaning, and manipulative conduct.
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                                                                                   12   This behavior by Mr. Mixter was witnessed by others including friends,
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                                                                                   13   neighbors, and Mars Argo band members.
                                                                                   14            43.   As a result, on May 31, 2014, Ms. Sheets and Mars Argo canceled
                                                                                   15   their first show at Belly of the Beast Blowout festival in Los Angeles,
                                                                                   16   California.
                                                                                   17            44.   In June 2014, Ms. Sheets put the band on hiatus from rehearsals
                                                                                   18   and performances. Thereafter, Mr. Mixter’s abusive conduct only grew worse.
                                                                                   19            45.   Around this time, Mr. Mixter began frequently breaking into Ms.
                                                                                   20   Sheets’ gated apartment building and would wait for her in the courtyard of the
                                                                                   21   building until she got home.
                                                                                   22

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                                                                                     1           46.   Around the same time, in mid-2014, Mr. Mixter met Moriah Rose
                                                                                     2   Pereira, known by her stage name at the time “ThatPoppy” (now “Poppy”),
                                                                                     3   through a mutual friend. At the time, Poppy was a brunette with dark brown
                                                                                     4   hair.
                                                                                     5

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                                                                                    14           47.   Ms. Sheets is informed and believes that Mr. Mixter and Ms.
                                                                                    15   Pereira began working together a few months after meeting, although Ms.
                                                                                    16   Sheets was unaware of it at the time.
                                                                                    17           48.   Soon thereafter, Ms. Pereira began to sport a shorter blonde
                                                                                    18   hairstyle resembling that of Ms. Sheets at the time. Looking back on social
                                                                                    19   media comments, it appears Mars Argo fans immediately noticed:
                                                                                    20

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                                                                                     1         49.    In August 2014, Ms. Sheets requested that Mr. Mixter not contact
                                                                                     2   her going forward. However, throughout August and September 2014, Mr.
                                                                                     3   Mixter continued to contact Ms. Sheets against her wishes, including sending a
                                                                                     4   text message threatening his own suicide. Mr. Mixter also continued to break
                                                                                     5   into Ms. Sheets’ gated apartment complex to wait for her in the courtyard.
                                                                                     6         50.    On one afternoon in September 2014, Ms. Sheets found Mr. Mixter
                                                                                     7   sitting in her courtyard and he seemed jittery. He demanded that she delete all
                                                                                     8   of the videos on their YouTube channel. His behavior and mannerisms
                                                                                     9   frightened Ms. Sheets, who immediately changed the passwords to the
                                                                                    10   Grocerybag.tv YouTube account to protect their work. Ms. Sheets had always
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                                                                                    11   been the one responsible for monitoring and managing the account, so it was not
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                                                                                    12   unusual for her to access the channel.
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                                                                                    13        B.     Mr. Mixter Begins To Copy The Mars Argo Project With Poppy
                                                                                    14               And To Increasingly Threaten And Attack Ms. Sheets
                                                                                    15         51.    In November 2014, Mr. Mixter started releasing videos with
                                                                                    16   Poppy. The first video released was entitled “Poppy Eats Cotton Candy.”
                                                                                    17   When Ms. Sheets originally met Poppy, she had short brown hair and looked
                                                                                    18   extremely different than how she appears today. Once Poppy began working
                                                                                    19   with Mr. Mixter, however, she started sporting a blonde bob and her natural
                                                                                    20   voice was altered in videos to be a pitch higher to sound like Mars Argo.
                                                                                    21         52.    In addition to copying the look of Ms. Sheets, the aesthetic of the
                                                                                    22   Poppy videos also is similar to that of Mars Argo. Like Mars Argo, most Poppy
                                                                                    23   videos had a plain, white-hued backdrop, were framed like a portrait with the
                                                                                    24   main subject in the middle of the frame. Poppy would tilt her head to the
                                                                                    25   camera, and the videos had a colorful, childlike kawaii pop culture effect
                                                                                    26   (kawaii is the culture of cuteness in Japan). Both Mars Argo and Poppy are
                                                                                    27   often described as having a “doll-like” quality.
                                                                                    28
                                                                                                                                  11
                                                                                                                          COMPLAINT
                                                                                  Case 2:18-cv-03204-R-AGR Document 1 Filed 04/17/18 Page 12 of 39 Page ID #:12



                                                                                     1         53.    Around the same time Mr. Mixter released his first work with
                                                                                     2   Poppy, on November 9, 2014, Mr. Mixter broke into Ms. Sheets apartment
                                                                                     3   through her bedroom window in the middle of the night. He was obviously
                                                                                     4   intoxicated or high on drugs. Ms. Sheets asked him to leave and go home. Ms.
                                                                                     5   Sheets photographed the broken window.
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                                                                                    20         54.   A few weeks later, Mr. Mixter broke into Ms. Sheets’ apartment
                                                                                    21   when she was not home and went onto her computer to log into her Facebook
                                                                                    22   account and block new friends of hers. Ms. Sheets discovered this only later
                                                                                    23   when she tried to communicate with the blocked individuals.
                                                                                    24         55.   Because Ms. Sheets had worked so hard to create the “Using You”
                                                                                    25   music video as Mars Argo, on January 13, 2015, she released the video. That
                                                                                    26   same day, Mr. Mixter also posted the video on his Instagram.
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                                                                                     1         56.    Shortly thereafter, Mr. Mixter once again broke into Ms. Sheets
                                                                                     2   apartment while seemingly intoxicated and began smashing her wine glasses
                                                                                     3   one by one. He said he was angry that Ms. Sheets had joined some Facebook
                                                                                     4   group and repeatedly asked her for the name of the group.
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                                                                                    18         57.    In addition to breaking into her home, Mr. Mixter continually
                                                                                    19   tracked Ms. Sheets social media postings, and would either contact her shortly
                                                                                    20   after she posted or thereafter post on his own social media and reference the
                                                                                    21   places or things she had discussed online. Ms. Sheets began to feel like Mr.
                                                                                    22   Mixter was monitoring her every move.
                                                                                    23         58.    In March 2015, Mr. Mixter, aka Titanic Sinclair, began shooting
                                                                                    24   the music video for a song called “Trust Fund.” All of the lyrics of “Trust
                                                                                    25   Fund” are an obvious jab at Ms. Sheets and her family’s wealth. The song was
                                                                                    26   later released in May 2015. A copy of the lyrics to Trust Fund is attached hereto
                                                                                    27   as Exhibit A and incorporated by reference into the complaint.
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                                                                                     1         59.    On April 2, 2015, Mr. Mixter broke into Ms. Sheets’ courtyard and
                                                                                     2   texted her a picture of himself sitting outside her door on her door mat after
                                                                                     3   midnight. The message was threatening and said “you probably blocked me so
                                                                                     4   fuck you you bitch. I’m publicly tweeting about our relationship. . . . You
                                                                                     5   blocked me. So I showed up.”
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                                                                                    16         60.    During April 2015, Mr. Mixter sent another seemingly suicidal
                                                                                    17   message to Ms. Sheets saying he wanted to see her one more time before “I go.”
                                                                                    18         61.    Thereafter, when Mr. Mixter learned of Ms. Sheets’ plans to go
                                                                                    19   into the studio to pursue a solo venture, he became violent. During the last
                                                                                    20   week of April 2015, Mr. Mixter showed up unannounced and approached Ms.
                                                                                    21   Sheets outside the gate to her home and viciously punched her in the face. He
                                                                                    22   then followed her through the gate, through the courtyard, and to her apartment
                                                                                    23   door. Ms. Sheets quickly ran inside her apartment, locked herself inside, and
                                                                                    24   yelled for Mr. Mixter to leave. These actions terrified Ms. Sheets, but she was
                                                                                    25   too afraid to report the incident to police, out of fear that Mr. Mixter would
                                                                                    26   retaliate against her in even worse ways.
                                                                                    27         62.    Shortly after the assault, in May 2015, Mr. Mixter took numerous
                                                                                    28   actions aimed at isolating and intimidating Ms. Sheets, including but not limited
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                                                                                                                           COMPLAINT
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                                                                                     1   to emailing and texting her disturbing messages, writing additional lyrics about
                                                                                     2   her, copying her ideas and work as Mars Argo, and posting photos he knew she
                                                                                     3   would recognize. If he could not work with her, he did not want anyone else to
                                                                                     4   either.
                                                                                     5             63.   Pursuant to his threat on April 2, 2015 to “tweet about [the]
                                                                                     6   relationship” to their fans, on May 6, 2015, Mr. Mixter falsely publicly tweeted
                                                                                     7   that he “wrote every word of every video” on Grocerybag.tv.
                                                                                     8             64.   On May 7, 2015, Mr. Mixter posted a photo on Instagram about his
                                                                                     9   “Trust Fund” single, which he released that day on his own website. The photo
                                                                                    10   he posted on Instagram and the album cover for “Trust Fund” again blatantly
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                                                                                    11   copied a concept that Ms. Sheets had confidentially told Mr. Mixter while still
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                                                                                    12   working together. In March 2015, Ms. Sheets was working on merchandise for
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                                                                                    13   a solo music venture named “Guppy,” and one of the products that she created
                                                                                    14   was heart shaped candy that comes in a prescription bottle. Mr. Mixter had seen
                                                                                    15   Ms. Sheets’ photograph of the candy bottle and later copied it. In May 2015,
                                                                                    16   Mr. Mixter specifically used a photograph of prescription bottles as his
                                                                                    17   Instagram announcement of Trust Fund. In April 2015, another artist with
                                                                                    18   whom Titanic Sinclair was working at the time, had a show and sold a
                                                                                    19   prescription bottle candy. Later, Poppy too made videos and sold a prescription
                                                                                    20   bottle of candy.
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                                                                                                         Mars Argo                 15           Titanic Sinclair Copy
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                                                                                     1         65.    The same day he posted the Trust Fund Instagram photo, on May 7,
                                                                                     2   2015, Mr. Mixter, aka Titanic Sinclair, also released the song “Guppy” and
                                                                                     3   intentionally titled the track with the name of the new solo project that Ms.
                                                                                     4   Sheets had been working on before she had a chance to release her project.
                                                                                     5   Because of these actions, Ms. Sheets eventually decided to abandon her project.
                                                                                     6         66.    The lyrics to the song “Guppy” by Mr. Mixter are another blatant
                                                                                     7   stab at Ms. Sheets and, among other things, reference her father’s money and
                                                                                     8   their relationship. A copy of the lyrics to the song “Guppy” are attached hereto
                                                                                     9   as Exhibit B to the complaint and incorporated by reference into the complaint.
                                                                                    10         67.    On or around May 10, 2015, Poppy posted a photo taken by Mr.
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                                                                                    11   Mixter, in which she is wearing Ms. Sheets’ jacket. Poppy now not only looked
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                                                                                    12   and sounded like Mars Argo but was wearing her actual clothes.
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                                                                                                      Mars Argo                               Poppy Copy
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                                                                                    23         68.    Presumably seeking to manipulate Ms. Sheets into speaking with
                                                                                    24   him, on the following day, May 11, 2015, Mr. Mixter sent Ms. Sheets a text
                                                                                    25   about a potential drug overdose saying “Just took 11 oxy’s laterrrrr” followed by
                                                                                    26   gibberish. His text messages were erratic and frightening.
                                                                                    27         69.    On May 14, 2015, Mr. Mixter then emailed a direct threat to Ms.
                                                                                    28   Sheets, saying: “You don’t even realize the hole you are digging yourself into.”
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                                                                                     1         70.    Throughout June 2015, Mr. Mixter continued to send threatening
                                                                                     2   emails to Ms. Sheets, along with demeaning and untrue messages about Ms.
                                                                                     3   Sheets to other people with whom she was in communication.
                                                                                     4         71.    In September 2015, Mr. Mixter posted a creepy, distorted drawing
                                                                                     5   of Ms. Sheets’ mother, Diane, to his Instagram, saying: “I drew my mom Diane
                                                                                     6   tonight. I miss my mom.” Mr. Mixter’s mother is not named Diane.
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                                                                                    19         72.    Finally, in December 2015, feeling not only harassed and in danger,
                                                                                    20   but that all of her creative output was being sourced for Mr. Mixter’s projects
                                                                                    21   and the Poppy storyline, Ms. Sheets largely stopped posting online as Mars
                                                                                    22   Argo, including Instagram and Facebook, which had been her direct avenue to
                                                                                    23   communicate with her fans.
                                                                                    24         73.    At this time, Ms. Sheets believed that the only way for her to avoid
                                                                                    25   Mr. Mixter was to hide her whereabouts from him, isolate herself from former
                                                                                    26   friends and acquaintances that Mr. Mixter kept in contact with, and essentially
                                                                                    27   “disappear” so that Mr. Mixter could no longer belittle, abuse, stalk, threaten,
                                                                                    28   harass, or find her.
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                                                                                     1         74.    Despite Ms. Sheets’ absence, Mr. Mixter continued to demean Ms.
                                                                                     2   Sheets on social media throughout 2016 and 2017, including the following
                                                                                     3   untrue, false, and derogatory statements:
                                                                                     4               •     calling Ms. Sheets a “complete nutcase”
                                                                                     5               •     saying Ms. Sheets “gave up”
                                                                                     6               •     claiming that “he designed everything and wrote/produced
                                                                                     7                     songs” relating to Mars Argo
                                                                                     8               •     calling Ms. Sheets “evil”
                                                                                     9               •     stating “how does it feel knowing I wrote every word you’ve
                                                                                    10                     ever heard her say”
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                                                                                    11               •     claiming “she [Ms. Sheets] wrote about ten percent of the
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                                                                                    12                     words, I wrote all the music”
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                                                                                    13               •     describing Ms. Sheets as “a spoiled rich kid who quit because
                                                                                    14                     success was too much work”
                                                                                    15               •     claiming he “invented” Mars Argo
                                                                                    16               •     claiming “none of the songs were her original composition”
                                                                                    17                     and
                                                                                    18               •     calling Ms. Sheets “a compulsive liar.”
                                                                                    19         75.    As a result of Mr. Mixter’s actions, Ms. Sheets has been diagnosed
                                                                                    20   with post-traumatic stress disorder, for which she has received regular treatment.
                                                                                    21        C.     As Poppy Grows In Popularity, Numerous Fans And
                                                                                    22               Commentators Note Substantial Similarities To Mars Argo
                                                                                    23        76.    When the Mars Argo project ended, Mr. Mixter transformed Poppy
                                                                                    24   into a new Mars Argo, and directly copied the content, style, aesthetic, sound,
                                                                                    25   and expression of ideas of Ms. Sheets. Ms. Sheets is informed and believes that
                                                                                    26   Mr. Mixter wanted to displace Mars Argo with Poppy. Just like Mars Argo,
                                                                                    27   constant themes of Poppy related to the internet, celebrity, and pop culture, with
                                                                                    28   a focus on the future and technology.
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                                                                                     1        77.   Over the years, many followers of both Mars Argo and Poppy have
                                                                                     2   publicly commented on how Poppy is copying Mars Argo. One typical
                                                                                     3   comment refers to Poppy as a “complete copycat.”
                                                                                     4        78.   For example, on or around February 11, 2014, Mars Argo released
                                                                                     5   the “Delete Your Facebook” video on Grocerybag.tv YouTube Channel. On or
                                                                                     6   around January 23, 2017, Poppy uploaded a video with the same title “Delete
                                                                                     7   Your Facebook” and released it onto her YouTube channel.
                                                                                     8                                  Mars Argo
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                                                                                               79.   In April 2014, Ms. Sheets began studying Japanese language at the

                                                                                     2
                                                                                         Fuji School in downtown Los Angeles. Later, in 2015, Ms. Sheets stopped

                                                                                     3
                                                                                         attending when Mr. Mixter and Ms. Pereira became students there as well.

                                                                                     4         80.   In July 2015, Ms. Sheets modeled for the brand called “Little
                                                                                     5   Sunny Bite” based out of Tokyo, Japan. The work was published in Nylon
                                                                                     6   Japan magazine and in promotional materials for the brand.
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                                                                                    17         81.   On the left is a photograph of Ms. Sheets wearing a blue skirt by

                                                                                    18   the brand and a long sleeve white button-down shirt. On the right is a

                                                                                    19   photograph of Poppy largely copying this same look, wearing a blue skirt with a

                                                                                    20   long sleeve white button-down shirt.

                                                                                    21         82.   Not so coincidentally, in mid- to late-2017, Poppy worked with the

                                                                                    22   Little Sunny Bite brand. Similarly, Mars Argo would regularly wear Sanrio®

                                                                                    23   Hello Kitty items in her videos. Later, Poppy became the face of Sanrio® Hello

                                                                                    24   Kitty in 2017.

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                                                                                     1         83.    On or around August 27, 2015, Poppy performed at Island Records
                                                                                     2   Island Life NYC with Mr. Mixter and visually copied Mars Argo’s look,
                                                                                     3   including wearing angel wings.
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                                                                                    14                Mars Argo                              Poppy Copy

                                                                                    15         84.   A 2016 Poppy YouTube video also directly copied a Mars Argo
                                                                                    16   photograph in which Mars Argo had blood dripping out of her mouth. As Mars
                                                                                    17   Argo, Ms. Sheets had also previously created a video in which she had blood
                                                                                    18   pouring out of her mouth.
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                                                                                                     Mars Argo                              Poppy Copy
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                                                                                     1         85.    Mr. Mixter also directed the Poppy “Lowlife” music video and
                                                                                     2   ripped off a concept about a red devil with horns that Ms. Sheets had mentioned
                                                                                     3   to Mr. Mixter while the two were creating content for Mars Argo (and
                                                                                     4   understood that Mr. Mixter was only privy to such material for his work with
                                                                                     5   Mars Argo). The devil in photos Ms. Sheets showed to Mr. Mixter are almost
                                                                                     6   identical to the devil in Poppy’s video: a red devil with a black goatee (the devil
                                                                                     7   even copies the exact hand gesture). The “Lowlife” video was later released in
                                                                                     8   July 2015 and Ms. Sheets learned then that the concept she shared had been
                                                                                     9   stolen.
                                                                                                                           Mars Argo
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                                                                                    25         86.    Poppy similarly herself has copied Mars Argo’s distinctive hand
                                                                                    26   gestures and lighting while performing, down to holding her fingers together
                                                                                    27   with hands flared out at a ninety-degree angle with pinkish hued backlight,
                                                                                    28   providing an ethereal effect.
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                                                                                    13         87.   Poppy has further copied Mars Argo’s use of the curtsy while
                                                                                    14   wearing all white presumably as a commentary on innocence and propriety.
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                                                                                                       Mars Argo                              Poppy Copy
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                                                                                    25         88.   There are numerous other examples of Titanic Sinclair’s and
                                                                                    26   Poppy’s use of Mars Argo’s prior work, ideas, aesthetic, and style.
                                                                                    27         89.   In 2013 and 2014, Mars Argo often dressed in a bunny costume or
                                                                                    28   wore a bunny ears headband during segments. In 2016, Poppy similarly both
                                                                                                                                23
                                                                                                                         COMPLAINT
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                                                                                     1   wore a bunny ears headband during one YouTube segment, and dressed in a
                                                                                     2   bunny-like costume in another.
                                                                                     3

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                                                                                    11                  Mars Argo                           Poppy Copy
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                                                                                    12         90.    Poppy even did one YouTube segment where she blows up the very
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                                                                                    13   same (or if not same identical) inflatable plastic white bunny that Ms. Sheets
                                                                                    14   purchased and used as a prop in her own Mars Argo YouTube videos.
                                                                                    15         91.    After a blonde Mars Argo uploaded a YouTube segment of her in a
                                                                                    16   light-colored bathtub filled with bubble bath set against a baby pink backdrop, a
                                                                                    17   blonde “That Poppy” later released an EP on Island Records entitled
                                                                                    18   “Bubblebath,” in which she is in a light-colored bathtub set against a baby pink
                                                                                    19   backdrop.
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                                                                                     1         92.    Poppy’s copying of Mars Argo continued in February 2017, when
                                                                                     2   Poppy posted a YouTube segment that reproduced a prior Mars Argo YouTube
                                                                                     3   video. The Poppy video features Poppy holding up a large bag of brand-name
                                                                                     4   potato chips and other commercial products and tasting them while looking
                                                                                     5   directly at the camera. The concept, action, line delivery, and editing style
                                                                                     6   employed in this video were virtually identical to a Mars Argo segment posted
                                                                                     7   on the Grocerybag.tv channel in August 2013.
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                                                                                                           Mars Argo                             Poppy Copy
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                                                                                    15         93.    Poppy’s imitations of Mars Argo went so far as to even copy Mars
                                                                                    16   Argo’s unique style of make-up, such as shown in the photo below, in which
                                                                                    17   Ms. Sheets would wear white eye-liner on her waterline and a distinctive blue
                                                                                    18   eye-liner directly beneath her lower lashes. On the left is Mars Argo, and on the
                                                                                    19   right is Poppy.
                                                                                    20

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                                                                                                       Mars Argo                                 Poppy Copy
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                                                                                    26         94.    Notably, the name of the original Mars Argo project on its
                                                                                    27   YouTube channel was the “Computer Show” and Poppy’s debut album and tour
                                                                                    28   were entitled “Poppy.Computer.”
                                                                                                                                 25
                                                                                                                          COMPLAINT
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                                                                                     1         95.    Taken together, each of these instances – and there are many others
                                                                                     2   – cannot be dismissed as mere coincidence; they show a clear, repeated and
                                                                                     3   willful pattern of copying and stealing Ms. Sheets’ work, content, identity, style,
                                                                                     4   aesthetic, likeness, and expression of ideas as Mars Argo.
                                                                                     5         96.    In fact, the two projects are so similar, that in August 2016, a
                                                                                     6   potential music manager that Ms. Sheets was interested in working with pulled
                                                                                     7   up the Poppy “Lowlife” music video during a meeting with Ms. Sheets, thinking
                                                                                     8   it was Ms. Sheets in the video.
                                                                                     9         97.    To add to the confusion to fans about whether the Poppy project
                                                                                    10   was a continuation of Mars Argo, on November 8, 2016, a friend of Mr.
                                 TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                                    11   Mixter’s uploaded a video entitled “Everybody Wants It All” (a private video
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                                                                                    12   Ms. Sheets made as Mars Argo in 2013) to YouTube without Ms. Sheets’
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                                                                                    13   knowledge or consent. The video had been made for a provocative art event in
                                                                                    14   downtown Detroit in 2013, and was never intended by Ms. Sheets to be put
                                                                                    15   online, especially not in 2016 when there were so many questions surrounding
                                                                                    16   Mars Argo’s absence from the internet. Upon learning that the video had been
                                                                                    17   posted, Ms. Sheets immediately sent an email to the individual who posted it,
                                                                                    18   requesting that he remove it immediately. The request was ignored. Thereafter,
                                                                                    19   Ms. Sheets filed a privacy complaint via YouTube.
                                                                                    20         98.    Because Mars Argo has a gun in this video and puts it up to her
                                                                                    21   head, many fans speculated that the video showed that Mars Argo was dead and
                                                                                    22   replaced by Poppy, or that Mars Argo was working with Poppy and Poppy was
                                                                                    23   the continuation of the Mars Argo project. On information and belief, Mr.
                                                                                    24   Mixter, through his friend, purposely posted the video online to link Mars Argo
                                                                                    25   to the Poppy project and/or to wrongly imply that Mars Argo chose to end her
                                                                                    26   character so that Poppy could continue it. Ms. Sheets, of course, never
                                                                                    27   consented to Poppy appropriating her persona or stealing her intellectual
                                                                                    28   property.
                                                                                                                                 26
                                                                                                                           COMPLAINT
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                                                                                     1         99.   Since the nonconsensual release of the “Everybody Wants It All”
                                                                                     2   video, Ms. Sheets further is informed and believes that Mr. Mixter and Ms.
                                                                                     3   Pereira purposely have used the disappearance of Mars Argo to their benefit by
                                                                                     4   making subtle references to Mars Argo in Poppy projects. The Mars Argo
                                                                                     5   “Everybody Wants It All” video was exactly 3:36 long. Poppy then directly
                                                                                     6   referenced 3:36 in her own work several times:
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                                                                                     1         100. Part of what has made Poppy so successful is the mystery
                                                                                     2   surrounding her. That mystery would not be possible without Mars Argo’s
                                                                                     3   disappearance.
                                                                                     4         101. In November 2016, an article was published in the Odyssey online
                                                                                     5   discussing Titanic Sinclair, Mars Argo, and Poppy, and commenting on how
                                                                                     6   Poppy is a carbon copy of Mars Argo: “That Poppy seems to be the
                                                                                     7   continuation of his project with Mars Argo, as both she and That Poppy have a
                                                                                     8   bubblegum pop sound full of catchy hooks and choruses. They have similar
                                                                                     9   aesthetics and are both young, pretty, and blonde-the perceived American ideal.
                                                                                    10   They are carbon copies of each other.” (emphasis added).
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                                                                                    11         102. In January 2017, Vice published an article about Poppy in which
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                                                                                    12   the reporter commented that: “It seems as though Poppy’s character is directly
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                                                                                    13   based on the character of Mars Argo.”
                                                                                    14         103. A few days later, the publication Noisey also released an article
                                                                                    15   speculating about the relationship between Mars Argo and Poppy.
                                                                                    16         104. In January 2017, Poppy released a show on Comedy Central called,
                                                                                    17   “Internet Famous with Poppy.” The show shares a striking visual resemblance
                                                                                    18   to Mars Argo, which fans pointed out in comments online. Poppy imitates Mars
                                                                                    19   Argo in the videos by saying variations of lines Mars Argo has said in Computer
                                                                                    20   Show episodes in the past.
                                                                                    21

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                                                                                    28                    Mars Argo                        Poppy Copy
                                                                                                                                 28
                                                                                                                         COMPLAINT
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                                                                                     2         105. In January 2017, the publication Motherboard posted an article
                                                                                     3   about Poppy, which discussed the origin of Poppy and noted the “striking
                                                                                     4   resemblance” to Mars Argo: “Starting in the late 2000s, Sinclair hosted a
                                                                                     5   YouTube series called ‘The Computer Show’ along with a woman known as
                                                                                     6   Mars Argo. Most of the videos from the YouTube account that hosted this show
                                                                                     7   have since been deleted, but the ones that remain bear a striking resemblance
                                                                                     8   to the videos on Poppy’s YouTube channel. In fact, it seems as though Poppy’s
                                                                                     9   character is directly based on the character of Mars Argo. . . .” (emphasis
                                                                                    10   added). The author noted that during the email interview Poppy “made a point
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                                                                                    11   of not answering any questions about her relationship to Mars Argo.”
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                                                                                    12         106. In March 2017, the publication LogoMag released an article that
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                                                                                    13   similarly talks about Poppy imitating Mars Argo, stating: “Poppy both
                                                                                    14   physically appears and acts in a similar manner to Mars Argo.” (emphasis
                                                                                    15   added).
                                                                                    16         107. On June 4, 2017, a Wired Magazine article stated: “Though Titanic
                                                                                    17   says the two projects are unrelated, the timing of his first collaboration with
                                                                                    18   Poppy and the crossover in themes has caused some fans to speculate that Poppy
                                                                                    19   is a continuation of the Mars project. (Or that Poppy stole Mars’ material or, in
                                                                                    20   an even more out-there theory, that Poppy is Mars.)”
                                                                                    21         108. On January 24, 2018, a Refinery29 article about Poppy commented
                                                                                    22   that before Poppy was Mars Argo, and described Mars Argo as a “Poppy
                                                                                    23   prototype,” adding “it’s certainly not hard to see the similarities between the
                                                                                    24   two musical projects.” (emphasis added).
                                                                                    25         109. On March 5, 2018, thecut.com posted an article about Poppy
                                                                                    26   entitled “Poppy might just be the Warhol of the internet era,” which similarly
                                                                                    27   commented that Mars Argo, whom Titanic Sinclair worked with prior to Poppy
                                                                                    28   was a “Poppy prototype.”
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                                                                                                                           COMPLAINT
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                                                                                     1         110. Recently, beginning in 2017, at public Poppy performances,
                                                                                     2   individuals in the audience have begun yelling “Where’s Mars Argo?” The
                                                                                     3   portions of concerts when fans yell “Where’s Mars Argo?” have been reposted
                                                                                     4   on YouTube multiple times by fans. At one Poppy.Computer Tour show,
                                                                                     5   during the 3:36 interlude, a fan shouted “Where’s Mars Argo?” and Poppy
                                                                                     6   responded, “Should we end this show early? Your choice.”
                                                                                     7         111. Instagram accounts such as “thatargosinclair” available at
                                                                                     8   https://www.instagram.com/thatargosinclair/ similarly link Titanic Sinclair,
                                                                                     9   Mars Argo, and Poppy together as a unit. The account includes older pictures of
                                                                                    10   Ms. Pereira before her transformation into the Mars Argo clone, Poppy.
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                                                                                    11         112. Ms. Sheets expects that Mr. Mixter will claim that he was the
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                                                                                    12   creative force behind Mars Argo, or that she was not a joint contributor.
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                                                                                    13   However, that is simply untrue. Just the opposite. To this day, Mr. Mixter as
                                                                                    14   Titanic Sinclair is directly copying Ms. Sheets’ photography.
                                                                                    15         113. For example, on the left is a photograph that Ms. Sheets styled,
                                                                                    16   composed, and shot of Mr. Mixter in 2010 and on the right is a photograph of
                                                                                    17   Poppy in which Poppy is shot and composed in the same manner.
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                                                                                                        Mars Argo                                 Poppy Copy
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                                                                                                                          COMPLAINT
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                                                                                 1         114. Similarly, on the right is a 2012 photograph Ms. Sheets took of Mr.
                                                                                 2   Mixter wearing a white bodysuit that Ms. Sheets purchased and styled him in
                                                                                 3   against a plain white backdrop; on the left is a photograph of Poppy in her
                                                                                 4   “Lowlife” music video, which was directed by Mr. Mixter, aka Titanic Sinclair,
                                                                                 5   using a virtually identical white bodysuit against a plain white backdrop.
                                                                                 6

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                                                                                13                                                     Poppy Copy
                                                                                                  Mars Argo
                                                                                14         115. Similarly, Ms. Sheets shot and styled photographs, such as the one
                                                                                15   below, that Mr. Mixter continues to use on his websites to this day.
                                                                                16

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                                                                                23         116. To this day, Poppy continues to work with Mr. Mixter and they
                                                                                24   continue to copy Mars Argo’s work, content, identity, expression of ideas, and
                                                                                25   likeness as part of the Poppy project and performances.
                                                                                26         117. Neither Mr. Mixter nor Ms. Pereira have requested permission from
                                                                                27   Ms. Sheets to use any portion of Ms. Sheets’ prior work, content, identity,
                                                                                28   expression of ideas, or likeness as Mars Argo.
                                                                                                                            31
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                                                                                     1   Ms. Sheets to use any portion of Ms. Sheets’ prior work, content, identity,
                                                                                     2   expression of ideas, or likeness as Mars Argo.
                                                                                     3         118. And, Ms. Sheets has never consented to Mr. Mixter or Ms. Pereira
                                                                                     4   using her prior work, content, identity, expression of ideas, or likeness as part of
                                                                                     5   the Poppy project.
                                                                                     6         119. On information and belief, Mr. Mixter and Ms. Pereira know that
                                                                                     7   they are infringing and copying Mars Argo work as evidenced by the fact that
                                                                                     8   Poppy’s YouTube channel purposely blocks the use of the words “Mars Argo”
                                                                                     9   in the comments section.
                                                                                    10         120. On information and belief, both Mr. Mixter and Ms. Pereira have
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                                                                                    11   received profits from the marketing, promotion and sale of merchandise,
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                                                                                    12   performances, tickets to concerts, music sales, and YouTube revenue as a result
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                                                                                    13   of their infringement and imitation of Ms. Sheets’ work.
                                                                                    14                                       COUNT I
                                                                                    15                              (Copyright Infringement)
                                                                                    16                              (17 U.S.C. §§ 106 and 501)
                                                                                    17                                   (All Defendants)
                                                                                    18         121. Plaintiff incorporates herein by reference the preceding paragraphs
                                                                                    19   of this Complaint as though fully set forth herein.
                                                                                    20         122. Plaintiff is an actress and musical artist known by the alter ego and
                                                                                    21   stage name Mars Argo. Between 2009 and 2014, Plaintiff created original
                                                                                    22   content and performed as Mars Argo with Defendant Corey Mixter, aka Titanic
                                                                                    23   Sinclair.
                                                                                    24         123. Ms. Sheets and Mr. Mixter, aka Mars Argo and Titanic Sinclair,
                                                                                    25   hold three joint copyrights for authorship in sound recording, performance,
                                                                                    26   production, music and lyrics, relating to the “Linden Place EP” (compact disc
                                                                                    27   and print material), the “Love in Black and White EP” (compact disc and print
                                                                                    28
                                                                                                                                 32
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                                                                                     1   material), and “Technology is a Dead Bird EP” (compact disc and printed
                                                                                     2   lyrics).
                                                                                     3          124. As evidenced by these copyrights, Ms. Sheets made substantial and
                                                                                     4   valuable contributions to the Mars Argo project. Ms. Sheets’ contributions to
                                                                                     5   Mars Argo videos, songs, recordings and performances included: photography,
                                                                                     6   writing original content and scripts, improvisation, directing, lighting, framing,
                                                                                     7   filming, editing, motion graphics, color correction, hair/make-up, wardrobe,
                                                                                     8   styling, sound design, lyrical composition, imaging and branding. Ms. Sheets
                                                                                     9   photography also contributed to the overall look and feel of Mars Argo.
                                                                                    10          125. In addition the three copyrights, Mars Argo also published a variety
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                                                                                    11   of content online in YouTube videos and segments in fixed, tangible medium.
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                                                                                    12   Ms. Sheets and Mr. Mixter have previously publicly stated that Mars Argo was
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                                                                                    13   a shared project.
                                                                                    14          126. As a copyright owner, Ms. Sheets is entitled to exclude others from
                                                                                    15   creating work based on Mars Argo’s copyrighted work.
                                                                                    16          127. In November 2014, Mr. Mixter, as Titanic Sinclair, began releasing
                                                                                    17   content with Moriah Pereira as the musical artist “That Poppy” also known as
                                                                                    18   “Poppy” or “I’m Poppy” (“Poppy”). The YouTube videos and other content
                                                                                    19   created by Titanic Sinclair and Poppy are substantially similar in the total
                                                                                    20   concept and feel of the works to the YouTube videos and other content created
                                                                                    21   by Titanic Sinclair and Mars Argo. Since November 2014, Titanic Sinclair and
                                                                                    22   Poppy have released numerous such videos.
                                                                                    23          128. Mr. Mixter has never requested permission from Ms. Sheets to
                                                                                    24   allow him to copy, imitate, or use any portion of Mars Argo’s character, work,
                                                                                    25   or content as part of his work with Poppy. Ms. Pereira also has not requested
                                                                                    26   permission to copy, imitate, or use any portion of Mars Argo’s character, work,
                                                                                    27   or content as Mars Argo in her work as Poppy.
                                                                                    28
                                                                                                                                 33
                                                                                                                          COMPLAINT
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                                                                                     1         129. Mr. Mixter, aka Titanic Sinclair, as the director of Poppy videos,
                                                                                     2   performances, songs, and recordings has directly benefitted financially from the
                                                                                     3   infringing activity. As director, Mr. Mixter had the right and ability to avoid
                                                                                     4   infringing activity, but chose to directly copy the material, content, and
                                                                                     5   expression of ideas of Mars Argo instead of creating original content with
                                                                                     6   Poppy. Indeed, because Mr. Mixter worked closely with Ms. Sheets for almost
                                                                                     7   eight years, Mr. Mixter had access to and knowledge of her copyrighted work.
                                                                                     8   Mr. Mixter’s work with Poppy is substantially similar to that of Mars Argo.
                                                                                     9         130. Ms. Pereira also had access to Ms. Sheets’ work, both through the
                                                                                    10   internet and her close relationship with Mr. Mixter, and Ms. Pereira had met Ms.
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                                                                                    11   Sheets in person on several occasions. Ms. Pereira was very aware of who Ms.
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                                                                                    12   Sheets is and her character, work, aesthetic, and style as Mars Argo. Indeed, as
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                                                                                    13   illustrated by the many news articles above, Ms. Pereira knows that Mars Argo
                                                                                    14   is typically referenced alongside her whenever Poppy is discussed, and that fans
                                                                                    15   still call out for Mars Argo at Poppy performances. Ms. Pereira cannot claim
                                                                                    16   ignorance.
                                                                                    17         131. On information and belief, Ms. Pereira seeks to block the name
                                                                                    18   “Mars Argo” from appearing in her social media comments on her social media
                                                                                    19   accounts so that she can avoid references or comparisons to Ms. Sheets, aka
                                                                                    20   Mars Argo. Instead of building her own independent career, Ms. Pereira has
                                                                                    21   simply copied what Ms. Sheets worked so hard to create.
                                                                                    22         132. As a joint owner of the Mars Argo project, Ms. Sheets is entitled to
                                                                                    23   her shares of profits attributable to the infringing activity of Corey Mixter, aka
                                                                                    24   Titanic Sinclair, and Moriah Pereira, aka Poppy, relating to Poppy projects, in
                                                                                    25   an amount to be proven at trial. 17 U.S. Code § 504(b). Ms. Sheets also
                                                                                    26   reserves the right to elect to recover statutory damages for infringing activity of
                                                                                    27   Mr. Mixter and Ms. Pereira pursuant to 17 U.S. Code § 504(c) and 17 U.S. Code
                                                                                    28   § 504(c)(2), and all other relief allowed under the Copyright Act.
                                                                                                                                 34
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                                                                                     1           133. Ms. Sheets further is entitled to her attorney’s fees and full costs
                                                                                     2   pursuant to 17 U.S.C. § 505 and otherwise according to law.
                                                                                     3           134. Mr. Mixter’s and Ms. Pereira’s copyright infringement of Mars
                                                                                     4   Argo was willful. Mr. Mixter and Ms. Pereira knew that they did not have
                                                                                     5   permission to use any part of Ms. Sheets’ copyrighted work, yet they
                                                                                     6   substantially copied, imitated, and used Mars Argo’s copyrighted content as part
                                                                                     7   of the Poppy project.
                                                                                     8                                       COUNT II
                                                                                     9                           (Common Law Right To Publicity)
                                                                                    10                                    (All Defendants)
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                                                                                    11           135. Plaintiff incorporates herein by reference the preceding paragraphs
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                                                                                    12   of this Complaint as though fully set forth herein.
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                                                                                    13           136. Defendants Mr. Mixter and Ms. Pereira have copied, imitated,
                                                                                    14   mimicked, or otherwise used Plaintiff’s identity and likeness as Mars Argo as
                                                                                    15   part of their work in videos, projects and performances involving the artist
                                                                                    16   Poppy.
                                                                                    17           137. Defendants Mr. Mixter and Ms. Pereira appropriated Plaintiff’s
                                                                                    18   identity as Mars Argo to their advantage, including for commercial purposes,
                                                                                    19   and have profited as a result.
                                                                                    20           138. Neither Defendants Mr. Mixter nor Ms. Pereira have requested
                                                                                    21   permission from Ms. Sheets to use Ms. Sheets’ identity or likeness as Mars
                                                                                    22   Argo.
                                                                                    23           139. Plaintiff has never consented to the use of her identity or likeness
                                                                                    24   as Mars Argo by Mr. Mixter or Ms. Pereira.
                                                                                    25           140. As a direct and proximate result of the tortious, unlawful, and
                                                                                    26   wrongful acts and conduct of Defendants, Plaintiff has suffered past and future
                                                                                    27   special damages and past and future general damages in an amount according to
                                                                                    28   proof at trial. Plaintiff has been damaged emotionally and financially, including
                                                                                                                                  35
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                                                                                     1   but not limited to suffering from fear, anxiety, depression, emotional distress,
                                                                                     2   post-traumatic stress disorder, as well as loss of income, employment, and
                                                                                     3   career benefits.
                                                                                     4                                      COUNT III
                                                                                     5                   (Violation of California’s Unfair Business Laws)
                                                                                     6                       (Cal. Bus. & Prof. Code §§17200 et seq.)
                                                                                     7                                   (All Defendants)
                                                                                     8         141. Plaintiff incorporates herein by reference the preceding paragraphs
                                                                                     9   of this Complaint as though fully set forth herein.
                                                                                    10         142. California Business and Professions Code section 17200 provides
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                                                                                    11   that unfair competition shall mean and include “all unlawful, unfair or
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                                                                                    12   fraudulent business act or practices and unfair, deceptive, untrue or misleading
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                                                                                    13   advertising.”
                                                                                    14         143. Defendants’ conduct as described above constitutes unlawful,
                                                                                    15   unfair, and fraudulent competition in violation of California Business and
                                                                                    16   Professions Code sections 17200 et seq.
                                                                                    17         144. As a direct and proximate result of the tortious, unlawful, and
                                                                                    18   wrongful acts and conduct of Defendants Mixter and Pereira, Plaintiff has
                                                                                    19   suffered past and future special damages and past and future general damages in
                                                                                    20   an amount according to proof at trial. Plaintiff has been damaged emotionally
                                                                                    21   and financially, including but not limited to suffering from anxiety, depression,
                                                                                    22   emotional distress, post-traumatic stress disorder, as well as loss of income,
                                                                                    23   employment, and career benefits.
                                                                                    24                                      COUNT IV
                                                                                    25                            (Domestic Violence Damages)
                                                                                    26                              (Cal. Code Proc. §340.15)
                                                                                    27                             (Against Defendant Mixter)
                                                                                    28         145. Plaintiff incorporates herein by reference paragraphs 1 through 9, 15
                                                                                                                                 36
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                                                                                     1   through 17, 19, and 35 through 75 of this Complaint as though fully set forth
                                                                                     2   herein.
                                                                                     3         146. Plaintiff is the former girlfriend of Defendant Mixter and the two
                                                                                     4   had a dating relationship between 2008 and 2014.
                                                                                     5         147. Plaintiff and Defendant Mixter also were formerly cohabitants who
                                                                                     6   resided together in Chicago and Los Angeles.
                                                                                     7         148. During and after their relationship, Defendant Mixter emotionally,
                                                                                     8   physically, and psychologically abused Plaintiff, including breaking into Ms.
                                                                                     9   Sheets’ apartment, breaking her possessions, and assaulting Ms. Sheets
                                                                                    10   physically. For example, in April 2015, Defendant Mixter waited at Ms. Sheets’
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                                                                                    11   apartment complex gate for her to come home and then punched her in the face
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                                                                                    12   once she arrived. Ms. Sheets was intimidated by Mr. Mixter and did not make a
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                                                                                    13   police report at the time because she was afraid that he would retaliate against
                                                                                    14   her and the abuse would worsen. She feared retribution.
                                                                                    15         149. Plaintiff now seeks the recovery of damages suffered as a result of
                                                                                    16   the domestic violence.
                                                                                    17         150. As a direct and proximate result of the tortious, unlawful, and
                                                                                    18   wrongful acts and conduct of Defendant Mixter, Plaintiff has suffered past and
                                                                                    19   future special damages and past and future general damages in an amount
                                                                                    20   according to proof at trial. Plaintiff has been damaged emotionally and
                                                                                    21   financially, including but not limited to suffering from fear, anxiety, depression,
                                                                                    22   emotional distress, post-traumatic stress disorder, as well as loss of income,
                                                                                    23   employment, and career benefits.
                                                                                    24         151. In engaging in the conduct as herein above alleged, Defendant
                                                                                    25   Mixter acted with malice, fraud, and oppression and/or in conscious disregard of
                                                                                    26   Plaintiff’s health, rights, and well-being, and intended to subject Plaintiff to
                                                                                    27   unjust hardship, thereby warranting an assessment of punitive damages in an
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                                                                                                                           COMPLAINT
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                                                                                     1   amount sufficient to punish Defendant Mixter and deter others from engaging in
                                                                                     2   similar conduct.
                                                                                     3                                  PRAYER FOR RELIEF
                                                                                     4              WHEREFORE, Plaintiff prays for judgment against Defendants as
                                                                                     5                                           follows:
                                                                                     6         A.     For general and special damages in an amount to be determined at
                                                                                     7   trial, including future damages, that Ms. Sheets has sustained or will sustain as a
                                                                                     8   result of the acts complained of herein, and that Ms. Sheets be awarded any
                                                                                     9   profits derived by Mr. Mixter and his companies or Ms. Pereira and her
                                                                                    10   companies, as a result of said acts, or as determined by said accounting;
                                 TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




                                                                                    11         B.     For an accounting of, and the imposition of a constructive trust with
Spertus, Landes & Umhofer, LLP
                                        1990 SOUTH BUNDY DR., SUITE 705




                                                                                    12   respect to Defendants’ work with and as Poppy attributable to infringement of
                                            LOS ANGELES. CA, 90025




                                                                                    13   Plaintiff’s copyright, or in Plaintiff’s election, an award of statutory damages,
                                                                                    14   including statutory damages for willful infringement; and
                                                                                    15         C.     For pre- and post-judgment interest according to proof;
                                                                                    16         D.     For punitive and exemplary damages;
                                                                                    17         E.     For costs of suit including reasonable attorney’s fees and statutory
                                                                                    18   fees, as allowed by law;
                                                                                    19                For all other further relief as the Court deems just and proper.
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                                                                                     1                                 JURY TRIAL DEMAND
                                                                                     2        Plaintiff hereby demands a trial by jury on all issues so triable.
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                                                                                     4   DATED: April 17, 2018           Respectfully submitted,
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                                                                                     7                                      /s/ Matthew Donald Umhofer
                                                                                                                         _______________________________
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                                                                                                                         Matthew Donald Umhofer
                                                                                                                         Dolly K. Hansen
                                                                                     9                                   Spertus, Landes & Umhofer, LLP
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                                                                                                                         Attorneys for Brittany Alexandria Sheets
                                 TELEPHONE 310-826-4700; FACSIMILE 310-826-4711




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                                                                                                                          COMPLAINT
